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This order is SIGNED.


Dated: July 3, 2024

                                                  JOEL T. MARKER
                                               U.S. Bankruptcy Judge
                                                                                                       msc


   Order Prepared and Submitted By:
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       THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF UTAH


   In re:                                                     Bankruptcy Case 24-21689
                                                                    (Chapter 13)
   CORBIN WILLIAM ARCHER and
   LISA ANN COLLET ARCHER                                        Judge Joel T. Marker

              Debtors.                                      FILED ELECTRONICALLY


        ORDER GRANTING STIPULATED MOTION TO EXTEND THE DEADLINE
      FOR FILING A COMPLAINT CONCERNING DEBTORS’ DISCHARGE UNDER
                                    11 U.S.C. § 523
   ______________________________________________________________________________

            Before the court for ruling is the Stipulated Motion to Extend the Deadline for Filing a

   Complaint Concerning Debtor’s Discharge Under 11 U.S.C. § 523 (the “Stipulation”), which

   was jointly filed by Debtors Corbin W. Archer and Lisa Ann C. Archer (collectively, “Debtors”)

   and Creditor Glass Mechanix Solutions, Inc. (“Creditor”). The Stipulation seeks an order
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extending Creditor’s deadlines for filing a complaint concerning Debtors’ discharge under 11

U.S.C. § 523 (“Section 523”).

       Having reviewed the Stipulation, notice being proper, and good cause appearing, it is

hereby ORDERED as follows:

       1.      The Stipulation is GRANTED; and

       2.      Creditor’s deadline for filing a complaint concerning Debtor’s discharge under

Section 523 is extended to August 30, 2024.

      ----------------------------------------END OF ORDER---------------------------------------

AGREED AS TO FORM AND CONTENT BY:

ROGERS & RUSSELL

*
Steven M. Rogers
Attorneys for Debtors Corbin W. Archer and
Lisa Ann C. Archer
*To be endorsed electronically via CM-ECF.
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                       DESIGNATION OF PARTIES TO BE SERVED

       Service of the foregoing ORDER GRANTING STIPULATED MOTION TO
EXTEND THE DEADLINE FOR FILING A COMPLAINT CONCERNING DEBTOR’S
DISCHARGE UNDER 11 U.S.C. § 523 shall be served to the parties and in the manner
designated below:

        By Electronic Service: I certify that the parties of record in this case as identified below,
are registered CM/ECF users and will be served notice of entry of the foregoing Order through
the CM/ECF system:

Lon Jenkins, ecfmail@ch13ut.org, lneebling@ch13ut.org
Mark C. Rose, mrose@mbt-law.com, markcroselegal@gmail.com
Jesse A.P. Baker, ecfutb@aldridgepite.com
Janci M. Lawes, jlawes@aldridgepite.com
Steven M. Rogers, srogers@roruss.com
United States Trustee, USTPRegion19.SK.ECF@usdoj.gov
Aaron M. Waite, aaronmwaite@agutah.gov
All other parties entitled to CM-ECF notice in this case

       By U.S. Mail: In addition to the parties of record receiving notice through the CM/ECF
system, the following parties should be served notice pursuant to Fed R.Civ.P.5(b):




                                      ___________________________
                                      Deputy Clerk
